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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                              :              CHAPTER 7
                                                    :
TRACY DENNIS,                                       :              CASE NO. 20-63562-PMB
                                                    :
         Debtor.                                    :
                                                    :


 MOTION FOR ORDER AUTHORIZING SETTLEMENT BETWEEN TRUSTEE AND
 UNITED COMMUNITY BANK UNDER RULE 9019 OF THE FEDERAL RULES OF
                    BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Tracy Dennis (“Debtor”), by and through the undersigned

counsel, and files his Motion for Order Authorizing Settlement between Trustee and United

Community Bank under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

“Settlement Motion”). In support of the Settlement Motion, Trustee respectfully shows the

Bankruptcy Court as follows:

                                    Jurisdiction and Venue

         1.    This Bankruptcy Court has jurisdiction over this Settlement Motion under 28

U.S.C. §§ 157 and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408

and 1409. The statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). This Settlement Motion

is a core proceeding under 28 U.S.C. § 157(b)(2).

                                         Background

                                    a. General Background

         2.    On February 28, 2020 (the “Petition Date”), Debtor filed a voluntary petition for




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relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 7 Case No. 20-63562-PMB (the “Bankruptcy Case” or “Case”)).

         3.     On the Petition Date, Debtor was the sole owner of that certain real property with

a common address of 6885 Estepona Street, Atlanta, Fulton County Georgia 30349 (the

“Property”).

         4.     On or about October 15, 2019, Debtor signed a Security Deed (the “UCB Deed”)

granting a security interest in the Property to United Community Bank (“United”) to secure the

repayment of a debt owed by Debtor to United in the original principal amount of $169,990.00

(the “Debt”).

         5.     Within 90 days of the Petition Date and approximately 113 days after Debtor

executed the UCB Deed, it was recorded (the “Transfer”) on the real property records (the

“Real Estate Records”) of the Clerk of the Superior Court of Fulton County (the “Clerk”) on

February 5, 2020.

         6.     On May 8, 2020, Trustee filed a complaint (the “Complaint”) against United and

initiated the adversary proceeding styled as Hays v. United Community Bank (Adv. Pro. No. 20-

6079-PMB) (the “Adversary Proceeding”), in which Trustee has asserted that the Transfer is

avoidable and recoverable by Trustee for the benefit of the Bankruptcy Estate, under 11 U.S.C.

§§ 547, 550, and 551 (the “Preference Issues”).

         7.     United has filed an answer to the Complaint and contests Trustee’s claims related

to the avoidability and recoverability of the Transfer.




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         8.    On April 2, 2021, the Court entered an order [Doc. No. 22], authorizing Trustee

and United to mediate the Preference Issues.

                                         b. Filed Claims

         9.    The total of the timely filed, priority claims filed in the Bankruptcy Case is

$3,148.75. The total of the timely filed, non-priority, general unsecured claims is $35,872.06.

                                   The Proposed Settlement

         10.   Following a mediation hosted by the Honorable Mary Grace Diehl (the

“Mediation”), Trustee and United (collectively, the “Parties”) reached an agreement (the

“Settlement Agreement”) to resolve the Preference Issues raised by Trustee, subject to

Bankruptcy Court approval. A copy of the Settlement Agreement is attached as Exhibit “A” to

this Settlement Motion and is incorporated herein by reference. Significant terms of the

Settlement Agreement follow:1

                  a. Within 30 days of the Settlement Approval Order becoming final and
                     upon receipt of a W-9 for the Bankruptcy Estate, United, through its title
                     insurance carrier, First American Title Insurance Company, on behalf of
                     United, shall pay to Trustee $85,000.00 in good funds (the “Settlement
                     Funds”) in one lump sum payment.2

                  b. Effective upon Trustee’s receiving the $85,000.00 Settlement Funds in
                     good funds and the Settlement Approval Order becoming a final order,
                     and except for the rights, duties, and obligations created or preserved
                     under the Settlement Agreement, Trustee releases, acquits, and forever
                     discharges United from any and all Claims (as defined in Section 9 of the
                     Settlement Agreement) of any kind, character, or nature whatsoever,
                     known or unknown, fixed or contingent, that Trustee may have or claim to
                     have against United prior to the Effective Date.



1      The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement shall control.
2     Capitalized terms not otherwise defined in this Settlement Motion shall have the
meanings ascribed to them in the Settlement Agreement.

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                   c. Effective upon the Settlement Approval Order becoming a final order, and
                      except for the rights, duties, and obligations created or preserved under the
                      Settlement Agreement, United releases, acquits, and forever discharges
                      Trustee and the Bankruptcy Estate and each and every past and present
                      agent, servant, employee, representative and attorney of Trustee or the
                      Bankruptcy Estate from any and all Claims (as defined in Section 9 of the
                      Settlement Agreement) of any kind, character or nature whatsoever,
                      known or unknown, fixed or contingent, that United may have or claim to
                      have against Trustee or the Bankruptcy Estate prior to the Effective Date.

                   d. Effective upon the Settlement Approval Order becoming a final order, the
                      UCB Deed shall be deemed properly perfected.

                   e. The Parties stipulate and agree that United shall not have a claim as an
                      unsecured creditor in the Bankruptcy Case against the Bankruptcy Estate
                      for or on account of payment of all or any portion of the $85,000.00
                      Settlement Funds, or for any reason, and that United, nor any of its
                      affiliates, agents, principals, or subsidiaries shall receive a distribution
                      from the Bankruptcy Estate.

                   f. Within ten (10) business days of the later of: (a) the Settlement Approval
                      Order becoming a final order, or (b) Trustee’s receiving the Settlement
                      Funds, Trustee and United shall file a stipulation dismissing with
                      prejudice the Adversary Proceeding.

                                        Relief Requested

         11.   By this Settlement Motion, Trustee requests that the Bankruptcy Court approve

the Settlement Agreement between the Parties.

                                         Basis for Relief

         12.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:




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         When a bankruptcy court decides whether to approve or disapprove a proposed
         settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties,
               if any, to be encountered in the matter of collection; (c) the
               complexity of the litigation involved, and the expense,
               inconvenience and delay necessarily attending it; (d) the
               paramount interest of the creditors and a proper deference to their
               reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).3

         13.   The proposed settlement between the Parties is the product of arms’ length

negotiations at the judicially hosted Mediation and reflects the Parties’ analysis and

consideration of the relevant legal, factual, and economic issues.

         14.   Given the potential expense of litigating the claims raised by Trustee and the

contingent nature of the same, in the event that the claims that are proposed to be settled are

instead prosecuted, the amount of time that such litigation will require, the delay before the final

outcome is known (including the time necessary for any potential appeals), and the complexity

and uncertain resolution of factual and legal disputes, settlement on the terms described in the

Settlement Agreement is a proper exercise of the Trustee’s business judgment and in the best

interests of the Bankruptcy Estate.



3
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the
Eleventh Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth
Circuit issued before October 1, 1981.

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         15.    Trustee estimates that the proposed Settlement Agreement will allow him to make

a meaningful, if not substantial, distribution to holders of timely filed, non-priority, general

unsecured claims. In fact, Trustee estimates that the proposed Settlement Agreement will allow

him to make a similar (if not better) distribution to holders of non-priority, general unsecured

claims as he would make after litigating the Adversary Proceeding to a judgment in favor of the

Bankruptcy Estate. But, importantly, it allows Trustee to avoid the risks associated with such

litigation.

         16.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Bankruptcy Court approve the Settlement Agreement.

         WHEREFORE, Trustee respectfully requests that the Bankruptcy Court enter an Order (i)

granting this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to

effectuate the terms of the Settlement Agreement; and (iii) granting to the parties such other and

further relief that the Court deems just and appropriate.

         Respectfully submitted, this 1st day of July, 2021.

                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Trustee

                                                      By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                            Michael J. Bargar
Atlanta, GA 30363                                          Georgia Bar No. 645709
(404) 873-8500                                             michael.bargar@agg.com




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                             EXHIBIT “A” FOLLOWS




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                                 CERTIFICATE OF SERVICE

        This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement between
Trustee and United Community Bank under Rule 9019 of the Federal Rules of Bankruptcy
Procedure by first class United States mail on the following persons or entities at the addresses
stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Tracy Dennis
6885 Estepona St
Atlanta, GA 30349

Christopher Carouthers
Chris Carouthers & Associates
Suite 131
2250 North Druid Hills Rd.
Atlanta, GA 30329

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Monica K. Gilroy
The Gilroy Firm
1145 Hightower Trail
Atlanta, GA 30350



         This 1st day of July, 2021.
                                                             /s/ Michael J. Bargar
                                                             Michael J. Bargar
                                                             Georgia Bar No. 645709




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